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 6 Attorney for Defendant
   BREE ANN BENSON
 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:14-CR-00228-LJO-SKO
11
                                   Plaintiff,           DEFENDANT BENSON’S UNOPPOSED MOTION
12                                                      TO MODIFY CONDITIONS OF RELEASE;
                             v.                         ORDER THEREON
13
     BREE ANN BENSON,
14
                                   Defendant.
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16
              Defendant Bree Ann Benson, through her undersigned counsel, hereby requests that this Court
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     modify her pretrial release conditions by vacating the requirements for location monitoring and curfew.
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     Defendant, who appeared personally as ordered for her arraignment, is currently out of custody on a
19
     $25,000 signature bond and conditions of release that include location monitoring and a curfew. The
20
     signature bond and other release conditions obviate the need for location monitoring and curfew.
21
     Modification of Defendant Benson’s conditions of release to remove the location monitoring and curfew
22
     as requested would leave in place conditions sufficient to assure Defendant Benson’s appearance at
23
     future proceedings and any other concern pursuant to 18 U.S.C. § 3142. Undersigned counsel consulted
24
     with Pretrial Services Officer Dan Stark, courtesy supervision Pretrial Services Officer Kadi Murray,
25
     and assigned Assistant United States Attorney Grant Rabenn. Each indicated that they are unopposed to
26
     /    /
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                                                        1
28
         DEFENDANT BENSON’S UNOPPOSED
         MOTION TO MODIFY CONDITIONS OF
         RELEASE; ORDER THEREON
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           Case 1:14-cr-00228-LJO-SKO Document 125 Filed 12/22/14 Page 2 of 2


 1 the requested relief.

 2 DATED:          December 22, 2014                     /s/ Beverly R. McCallum
                                                         BEVERLY R. MCCALLUM, ESQ.
 3                                                       Attorney for Defendant
                                                         BREE ANN BENSON
 4

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 6
                                                    ORDER
 7
        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant Bree Ann Benson’s
 8 conditions of pretrial release are modified to vacate conditions that she submit to location monitoring

 9 and curfew. All remaining conditions of Bree Ann Benson’s pretrial release shall remain in full force

10 and effect.

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12 IT IS SO ORDERED.

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        Dated:    December 22, 2014                             /s/ Sheila K. Oberto
14                                                    UNITED STATES MAGISTRATE JUDGE

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      DEFENDANT BENSON’S UNOPPOSED
      MOTION TO MODIFY CONDITIONS OF
      RELEASE; ORDER THEREON
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